                    Case 5:21-cv-00084-BJB-LLK Document 1-4 Filed 06/22/21 Page 1 of 2 PageID #: 12
JS 44 (Rev. 10/20)                                                                       CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a)  PLAINTIFFS
    ,17+(0$77(52)7+(&203/$,172)(5,&<$(*(5$62:1(5$1'
                                                                                                                                   DEFENDANTS
    23(5$7252)7+(6($'225;7;3(5621$/:$7(5&5$)7%($5,1*
    ,'(17,),&$7,2112<'9%)25(;21(5$7,21)52025/,0,7$7,21
    2)/,$%,/,7<
   (b)
     County        of Residence of First Listed Plaintiff
         9DQGHUEXUJK&RXQW\,QGLDQD         County of Residence of First Listed Defendant
                                             (EXCEPT IN U.S. PLAINTIFF CASES)                                                                            (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                   NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                             THE TRACT OF LAND INVOLVED.

   (c)    Attorneys (Firm Name, Address, and Telephone Number)                                                                      Attorneys (If Known)
          %REE\50LOOHU-U(VT9DQ)6LPV(VT
          0LOOHU+DKQ3//&
          :HVW3DUN'ULYH6XLWH
          3DGXFDK.<  

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                                              (For Diversity Cases Only)                                     and One Box for Defendant)
  1    U.S. Government                        ;3       Federal Question                                                                                PTF          DEF                                        PTF      DEF
         Plaintiff                                       (U.S. Government Not a Party)                                  Citizen of This State            1            1     Incorporated or Principal Place         4     4
                                                                                                                                                                              of Business In This State

  2    U.S. Government                           4     Diversity                                                        Citizen of Another State              2         2   Incorporated and Principal Place           5         5
         Defendant                                       (Indicate Citizenship of Parties in Item III)                                                                        of Business In Another State

                                                                                                                        Citizen or Subject of a               3         3   Foreign Nation                             6         6
                                                                                                                          Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                           TORTS                                          FORFEITURE/PENALTY                      BANKRUPTCY                      OTHER STATUTES
  110 Insurance                                PERSONAL INJURY                       PERSONAL INJURY                         625 Drug Related Seizure             422 Appeal 28 USC 158        375 False Claims Act
  120 Marine                                   310 Airplane                         365 Personal Injury -                        of Property 21 USC 881           423 Withdrawal               376 Qui Tam (31 USC
  130 Miller Act                               315 Airplane Product                     Product Liability                    690 Other                                28 USC 157                   3729(a))
  140 Negotiable Instrument                         Liability                       367 Health Care/                                                                                           400 State Reapportionment
  150 Recovery of Overpayment                  320 Assault, Libel &                     Pharmaceutical                                                            PROPERTY RIGHTS              410 Antitrust
      & Enforcement of Judgment                     Slander                             Personal Injury                                                            820 Copyrights              430 Banks and Banking
  151 Medicare Act                             330 Federal Employers’                   Product Liability                                                          830 Patent                  450 Commerce
  152 Recovery of Defaulted                         Liability                       368 Asbestos Personal                                                          835 Patent - Abbreviated    460 Deportation
       Student Loans                           340 Marine                               Injury Product                                                                 New Drug Application    470 Racketeer Influenced and
       (Excludes Veterans)                     345 Marine Product                       Liability                                                                  840 Trademark                   Corrupt Organizations
  153 Recovery of Overpayment                       Liability                      PERSONAL PROPERTY                                  LABOR                        880 Defend Trade Secrets    480 Consumer Credit
      of Veteran’s Benefits                    350 Motor Vehicle                    370 Other Fraud                          710 Fair Labor Standards                  Act of 2016                 (15 USC 1681 or 1692)
  160 Stockholders’ Suits                      355 Motor Vehicle                    371 Truth in Lending                         Act                                                           485 Telephone Consumer
  190 Other Contract                               Product Liability                380 Other Personal                       720 Labor/Management                  SOCIAL SECURITY                 Protection Act
  195 Contract Product Liability               360 Other Personal                       Property Damage                          Relations                         861 HIA (1395ff)            490 Cable/Sat TV
  196 Franchise                                    Injury                           385 Property Damage                      740 Railway Labor Act                 862 Black Lung (923)        850 Securities/Commodities/
                                               362 Personal Injury -                    Product Liability                    751 Family and Medical                863 DIWC/DIWW (405(g))          Exchange
                                                   Medical Malpractice                                                           Leave Act                         864 SSID Title XVI        ; 890 Other Statutory Actions
      REAL PROPERTY                              CIVIL RIGHTS                      PRISONER PETITIONS                        790 Other Labor Litigation            865 RSI (405(g))            891 Agricultural Acts
  210 Land Condemnation                        440 Other Civil Rights               Habeas Corpus:                           791 Employee Retirement                                           893 Environmental Matters
  220 Foreclosure                              441 Voting                           463 Alien Detainee                           Income Security Act              FEDERAL TAX SUITS            895 Freedom of Information
  230 Rent Lease & Ejectment                   442 Employment                       510 Motions to Vacate                                                          870 Taxes (U.S. Plaintiff       Act
  240 Torts to Land                            443 Housing/                             Sentence                                                                        or Defendant)          896 Arbitration
  245 Tort Product Liability                       Accommodations                   530 General                                                                    871 IRS—Third Party         899 Administrative Procedure
  290 All Other Real Property                  445 Amer. w/Disabilities -           535 Death Penalty                            IMMIGRATION                            26 USC 7609                Act/Review or Appeal of
                                                   Employment                       Other:                                   462 Naturalization Application                                        Agency Decision
                                               446 Amer. w/Disabilities -           540 Mandamus & Other                     465 Other Immigration                                             950 Constitutionality of
                                                   Other                            550 Civil Rights                             Actions                                                           State Statutes
                                               448 Education                        555 Prison Condition
                                                                                    560 Civil Detainee -
                                                                                        Conditions of
                                                                                        Confinement
V. ORIGIN (Place an “X” in One Box Only)
; 1 Original                     2 Removed from                           3     Remanded from                       4 Reinstated or               5 Transferred from
                                                                                                                                                            6 Multidistrict                                    8 Multidistrict
       Proceeding                  State Court                                  Appellate Court                       Reopened                      Another District
                                                                                                                                                                Litigation -                                     Litigation -
                                                                                                                                                    (specify)   Transfer                                         Direct File
                                                 Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                                     86&6HFWLRQHWVHT
VI. CAUSE OF ACTION                              Brief description of cause:
                                                  ([RQHUDWLRQ)URPRU/LPLWDWLRQRI/LDELOLW\
VII. REQUESTED IN                                       CHECK IF THIS IS A CLASS ACTION                                      DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:                                         UNDER RULE 23, F.R.Cv.P.                                                                                        JURY DEMAND:           Yes     ; No

VIII. RELATED CASE(S)
                                                      (See instructions):
      IF ANY                                                                      JUDGE                                                                           DOCKET NUMBER
DATE      -XQH                                                               SIGNATURE OF ATTORNEY OF RECORD


FOR OFFICE USE ONLY

  RECEIPT #                            AMOUNT                                              APPLYING IFP                                           JUDGE                            MAG. JUDGE
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JS 44 Reverse (Rev. 10/20)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

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required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
